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                     APPENDIX E
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                                                                       PJT Partners LP
                                                                                                                                     February 26, 2016

Andrew Bruenjes
Quiksilver, Inc.
5600 Argosy Circle, #100
Huntington Beach, CA 92649



Pro-rated Monthly Fee for the period of September 29, 2015 through September 30, 2015: (1)                             $                    10,000.00

Monthly Fee for the period of October 1, 2015 through October 31, 2015:                                                                    150,000.00

Out-of-pocket expenses processed for the period through October 31, 2015: (2)

                            Legal Expenses                                      $         6,120.00                                           6,120.00

                            Total Amount Due                                                                           $                   166,120.00



Please wire transfer funds to:

First Republic Bank
1230 Avenue of the Americas
New York, NY 10020
ABA# 321 081 669
Credit Account: PJT Partners LP
Finance Department- 16th Floor
Account # 80003266582



                                                                                                                      Invoice No. 10000248



(1)
      Amount calculated as follows: 2 days out of 30 days multiplied by $150,000.                                     PJT Partners LP
(2)
      Expenses incurred, but not yet processed due to timing differences will be billed at a later date.              280 Park Avenue
                                                                                                                      New York, NY 10017
                                                                                                                      212 364-7800
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                                                                       PJT Partners LP
                                                                                                                                     February 26, 2016

Andrew Bruenjes
Quiksilver, Inc.
5600 Argosy Circle, #100
Huntington Beach, CA 92649




Monthly Fee for the period of November 1, 2015 through November 30, 2015:                                              $                   150,000.00

Monthly Fee for the period of December 1, 2015 through December 31, 2015:                                                                  150,000.00

                            Total Amount Due(1)                                                                        $                   300,000.00




Please wire transfer funds to:

First Republic Bank
1230 Avenue of the Americas
New York, NY 10020
ABA# 321 081 669
Credit Account: PJT Partners LP
Finance Department- 16th Floor
Account # 80003266582



                                                                                                                      Invoice No. 10000503



(1)
      Expenses incurred, but not yet processed due to timing differences will be billed at a later date.              PJT Partners LP
                                                                                                                      280 Park Avenue
                                                                                                                      New York, NY 10017
                                                                                                                      212 364-7800
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                                               PJT Partners LP
                                                                                                          March 7, 2016

Andrew Bruenjes
Quiksilver, Inc.
5600 Argosy Circle, #100
Huntington Beach, CA 92649



Monthly Fee pro-rated for the period of January 1, 2016 through January 29, 2016:        $                   140,322.58

Restructuring Fee:                                                                                        2,000,000.00

Out-of-pocket expenses proceesed for the period through January 29, 2016:

                 Airfare                              $      7,501.75
                 Ground Transportation                       5,492.91
                 Communications                                169.75
                 Meals                                       1,255.93
                 Lodging                                     4,304.40                                         18,724.74

                 Total Amount Due                                                        $                2,159,047.32



Please wire transfer funds to:

First Republic Bank
1230 Avenue of the Americas
New York, NY 10020
ABA# 321 081 669
Credit Account: PJT Partners LP
Finance Department- 16th Floor
Account # 80003266582



                                                                                        Invoice No. 10000683



                                                                                        PJT Partners LP
                                                                                        280 Park Avenue
                                                                                        New York, NY 10017
                                                                                        212 364-7800
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                                         Quiksilver
                                     Summary of Expenses

                                             GL Detail                             Total
                                             Feb-2016                             Expenses
Airfare                                  $        7,501.75                    $       7,501.75
Ground Transportation                             5,492.91                            5,492.91
Communications                                      169.75                              169.75
Employee Meals                                    1,255.93                            1,255.93
Lodging                                           4,304.40                            4,304.40
Total Expenses                          $        18,724.74                    $      18,724.74

                                        Airfare                               $          7,501.75
                                        Ground Transportation                            5,492.91
                                        Communications                                     169.75
                                        Meals                                            1,255.93
                                        Lodging                                          4,304.40

                                        Total Expenses                        $      18,724.74
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                                                                                            Quiksilver
                                                                                  Details of Expenses Processed
                                                                                   Through January 29, 2016
                                                                                      Invoice No. 10000683

Airfare
Abramson (travel agency fee for booking of flight to Los Angeles, CA from Queens, NY on 10/08 & 10/09/15)              10/07/15                     35.00
Abramson (round trip coach class flight to/from Los Angeles, CA from/to Queens, NY)                               10/08/15 - 10/09/15            1,465.35
Abramson (travel agency fee for flight to/from Los Angeles, CA from/to Queens, NY on 10/20 & 10/21/15)                 10/20/15                     35.00
Abramson (round trip coach class flight to/from Los Angeles, CA from/to Queen, NY)                                10/20/15 - 10/21/15            1,465.35
Baird (travel agency fee for flight to/from Los Angeles, CA from/to Queens, NY on 10/20 & 10/21/15)                    10/20/15                     35.00
Baird (round trip coach class flight to/from Los Angeles, CA from/to Queens, NY)                                  10/20/15 - 10/21/15            1,465.35
Rappaport (travel agency fee for flight to/from Los Angeles, CA from/to Queens, NYon 10/20 & 10/21/15)                 10/20/15                     35.00
Rappaport (round trip coach class flight to/from Los Angeles, CA from/to Queen, NY)                               10/20/15 - 10/21/15            1,465.35
Rappaport (round trip coach class flight to/from Los Angeles, CA from/to Queens, NY)                              01/19/16 - 01/20/16            1,465.35
Rappaport (travel agency fee for flight to/from Los Angeles, CA from/to Queens, NY on 01/19 & 01/20/16)                01/21/16                     35.00
                                                                                                                   Subtotal - Airfare                       $   7,501.75

Ground Transportation
Abramson (weeknight taxi home from office after working late)                                                          10/05/15                    11.75
Abramson (weeknight taxi home from office after working late)                                                          10/07/15                    11.76
Abramson (taxi to JFK Airport in Queens, NY from office)                                                               10/08/15                   116.35
Abramson (taxi to hotel from airport in Los Angeles, CA)                                                               10/09/15                    54.30
Abramson (taxi to client meeting from hotel in Los Angeles, CA)                                                        10/09/15                    18.54
Abramson (taxi home from JFK Airport in Queens, NY)                                                                    10/09/15                    69.99
Abramson (weeknight taxi home from office after working late)                                                          10/09/15                    11.75
Abramson (weekend taxi to office from home)                                                                            10/10/15                    11.11
Abramson (travel agency fee for booking of train travel to Wilmington, DE from New York, NY)                           10/13/15                    35.00
Abramson (one-way train travel to Wilmington, DE from New York, NY)                                                    10/13/15                   163.00
Abramson (weeknight taxi home from office after working late)                                                          10/13/15                    24.33
Abramson (taxi to New York Penn Station from home)                                                                     10/14/15                    27.34
Abramson (travel agency fee for booking of train travel to New York, NY from New York, NY)                             10/14/15                    35.00
Abramson (one-way train travel to New York, NY from Wilmington, DE)                                                    10/15/15                   124.00
Abramson (weeknight taxi home from New York Penn Station)                                                              10/15/15                    59.85
Abramson (taxi to JFK Airport in Queens, NY from office)                                                               10/20/15                    64.21
Abramson (car service to hotel from airport in Los Angeles, CA)                                                        10/20/15                   181.78
Abramson (taxi to client meeting from hotel in Los Angeles, CA)                                                        10/21/15                    16.47
Abramson (car service home from JFK Airport in Queens, NY)                                                             10/22/15                    72.97
Abramson (travel agency fee for booking of train travel to/from Wilmington, DE from/to New York, NY)                   10/27/15                    35.00
Abramson (one-way train travel to Wilmington, DE from New York, NY)                                                    10/27/15                   124.00
Abramson (weeknight taxi home from office after working late)                                                          10/27/15                    11.76
Abramson (one-way train travel to New York, NY from Wilmington, DE)                                                    10/28/15                   183.00
Abramson (taxi home from New York Penn Station)                                                                        10/28/15                    63.47
Abramson (taxi to courthouse from train station in Wilmington, DE)                                                     10/28/15                     5.75
Abramson (taxi to New York Penn Station from office)                                                                   10/28/15                    13.24
Baird (car service home from office after working late)                                                                10/01/15                   154.09
Baird (car service home from office after working late)                                                                10/07/15                   149.99
Baird (one-way train travel to Wilmington, DE from New York, NY)                                                       10/13/15                   124.00
Baird (car service home from New York Penn Station)                                                                    10/14/15                   224.39
Baird (one-way train travel to Wilmington, DE from Stamford, CT)                                                       10/15/15                   127.00
Baird (early morning car service to New York, NY from home)                                                            10/16/15                   210.75
Baird (car service home from train station in Stamford, CT)                                                            10/16/15                    58.00
Baird (car service to office from JFK Airport in Queens, NY)                                                           10/21/15                   150.07
Baird (car service home from office after working late)                                                                10/26/15                   152.47
Baird (one-way train travel to Wilmington, DE from New York, NY)                                                       10/27/15                   124.00
Baird (one-way train travel to Stamford, CT from Wilmington, DE)                                                       10/28/15                   127.00
Baird (weeknight taxi home from train station in Stamford, CT)                                                         10/28/15                    57.40
Baird (car service home from client dinner meeting in New York, NY)                                                    01/14/16                   229.93
Genereux (travel agency fee for booking of train travel to Wilmington, DE from New York, NY)                           10/09/15                    35.00
Genereux (one-way train travel to Wilmington, DE from New York, NY)                                                    10/09/15                   139.00
Genereux (one-way train travel to Wilmington, DE from New York, NY)                                                    10/13/15                   126.00
Genereux (travel agency fee for booking of train travel to Stamford, CT from Wilmington, DE)                           10/14/15                    21.00
Genereux (one-way train travel to Stamford, CT from Wilmington, DE)                                                    10/13/15                   127.00
Genereux (taxi to courthouse from train station in Wilmington, DE)                                                     10/15/15                    10.00
Genereux (taxi to train station from courthouse in Wilmington, DE)                                                     10/15/15                    15.00
Genereux (taxi home from train station in Stamford, CT)                                                                10/15/15                    59.20
Genereux (travel agency fee for booking of train travel to Wilmington, DE from New York, NY)                           10/19/15                    35.00
Rappaport (weeknight taxi home from office after working late)                                                         10/01/15                    12.22
Rappaport (weeknight taxi home from office after working late)                                                         10/02/15                    11.59
Rappaport (weekend taxi to office from home)                                                                           10/03/15                    12.95
Rappaport (weekend taxi home from office)                                                                              10/03/15                    18.50
Rappaport (weekend taxi to office from home)                                                                           10/04/15                    16.12
Rappaport (weeknight taxi home from office after working late)                                                         10/05/15                    11.89
Rappaport (weeknight taxi home from office after working late)                                                         10/06/15                    13.60
Rappaport (taxi to office from client meeting in New York, NY)                                                         10/13/15                    16.53
Rappaport (taxi to client dinner meeting in New York, NY)                                                              10/15/15                    19.22
Rappaport (taxi to client meeting in New York, NY)                                                                     10/17/15                    24.14
Rappaport (weeknight taxi home from office after working late)                                                         10/17/15                    33.16
Rappaport (weeknight taxi home from office after working late)                                                         10/19/15                    23.60
Rappaport (taxi to JFK Airport in Queens, NY from office)                                                              10/20/15                   128.17
Rappaport (taxi to hotel in Costa mesa from airport in Los Angeles, CA)                                                10/20/15                   169.40
Rappaport (taxi while traveling)                                                                                       10/21/15                    46.48
Rappaport (taxi home from JFK Airport in Queens, NY)                                                                   10/21/15                    71.68
Rappaport (weeknight taxi home from office after working late)                                                         10/22/15                    15.80
Rappaport (weekend taxi to office from home)                                                                           10/24/15                    24.87
Rappaport (weeknight taxi home from office after working late)                                                         10/26/15                    12.70
Rappaport (weeknight taxi home from office after working late)                                                         10/27/15                    13.08
Rappaport (weekend taxi to office from home)                                                                           10/30/15                    12.71
Rappaport (weeknight taxi home from office after working late)                                                         10/31/15                    31.03
Rappaport (weeknight taxi home from office after working late)                                                         11/11/15                    13.54
Rappaport (weeknight taxi home from office after working late)                                                         11/12/15                    14.49




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Rappaport (weekend taxi home from office)                                                                            11/14/15                         14.20
Rappaport (weekend taxi home from office)                                                                            11/15/15                         20.11
Rappaport (weeknight taxi home from office after working late)                                                       11/16/15                         15.21
Rappaport (weeknight taxi home from office after working late)                                                       11/18/15                         31.77
Rappaport (weeknight taxi home from office after working late)                                                       11/19/15                         28.58
Rappaport (weeknight taxi home from office after working late)                                                       12/11/15                         16.13
Rappaport (Weekend taxi home from office)                                                                            12/12/15                         16.13
Rappaport (weeknight taxi home from office after working late)                                                       12/22/15                         11.36
Rappaport (weekend taxi home from office)                                                                            01/04/16                         12.90
Rappaport (weekend taxi home from office)                                                                            01/03/16                         27.89
Rappaport (weekend taxi to office from home)                                                                         01/03/16                         10.21
Rappaport (weeknight taxi home from office after working late)                                                       01/06/16                         21.76
Rappaport (weeknight taxi home from office after working late)                                                       01/06/16                         23.60
Rappaport (weeknight taxi home from office after working late)                                                       01/07/16                         33.21
Rappaport (weeknight taxi home from office after working late)                                                       01/08/16                         22.18
Rappaport (weekend taxi to office from home)                                                                         01/10/16                         27.17
Rappaport (weekend taxi home from office)                                                                            01/10/16                         11.55
Rappaport (weeknight taxi home from office after working late)                                                       01/09/16                         26.69
Rappaport (weekend taxi home from office)                                                                            01/11/16                         22.26
Rappaport (weeknight taxi home from office after working late)                                                       01/12/16                         22.43
Rappaport (weeknight taxi home from office after working late)                                                       01/13/16                         24.32
Rappaport (weeknight taxi home from office after working late)                                                       01/14/16                         22.92
Rappaport (weeknight taxi home from office after working late)                                                       01/14/16                         16.55
Rappaport (late night document document delivery J. Baird's residence)                                               01/08/16                         77.14
Rappaport (taxi to JFK Airport in Queens, NY from office)                                                            01/19/16                         68.76
Rappaport (taxi home from JFK Airport in Queens, NY)                                                                 01/21/16                         69.15
Rappaport (weeknight taxi home from office after working late)                                                       01/22/16                         29.25
                                                                                                         Subotal - Ground Transportation                      5,492.91

Communications
Abramson (wi-fi access while traveling)                                                                               10/08/15                        39.95
Abramson (wi-fi access while traveling)                                                                               10/20/15                        33.95
Baird (wi-fi access while traveling)                                                                                  10/20/15                        33.95
Rappaport (wi-fi access while traveling)                                                                              10/20/15                        34.95
Rappaport (wi-fi access while traveling)                                                                              01/20/16                        26.95
                                                                                                             Subtotal - Communications                         169.75

Employee Meals
Abramson (weeknight working dinner meal @ office while working late)                                                  10/06/15                        16.33
Abramson (weeknight working dinner meal @ JFK Airport in Queens, NY)                                                  10/08/15                        30.16
Abramson (working meal with A. Querishi, J. Izkowitz, J. Sorkin & J. Abramson in Los Angeles, CA)                     10/09/15                       140.00
Abramson (working meal @ hotel in Los Angeles, CA)                                                                    10/10/15                         4.36
Abramson (working meal while traveling)                                                                               10/14/15                         6.70
Abramson (working meal while traveling)                                                                               10/15/15                        25.25
Abramson (working meal while traveling)                                                                               10/15/15                        35.00
Abramson (working meal with J. Baird while traveling)                                                                 10/20/15                        35.00
Abramson (working meal @ hotel in Cost Mesa, CA)                                                                      10/21/15                        14.03
Abramson (weeknight working dinner meal @ office while working late)                                                  10/22/15                        15.73
Abramson (working meal while traveling)                                                                               10/22/15                        35.00
Abramson (weeknight taxi home from office after working late)                                                         10/27/15                        11.76
Abramson (working meal while traveling)                                                                               10/28/15                         6.50
Abramson (weeknight working dinner meal @ office while working late)                                                  10/29/15                        22.86
Abramson (weeknight working dinner meal @ office while working late)                                                  11/04/15                        34.65
Abramson (weeknight working dinner meal @ office while working late)                                                  11/09/15                        37.29
Baird (working lunch meal while in Wilmington, DE)                                                                    10/15/15                         8.25
Baird (working meal @ hotel in Wilmington, DE)                                                                        10/16/15                        35.00
Baird (working meal while in Los Angeles, CA)                                                                         10/21/15                        32.47
Baird (working meal while in Los Angeles, CA)                                                                         10/21/15                        35.00
Baird (working meal while in Wilmington, DE)                                                                          10/28/15                         8.50
Genereux (working meal while traveling)                                                                               10/15/15                         3.15
Genereux (working meal while traveling)                                                                               10/15/15                        23.50
Rappaport (weeknight working dinner meal @ office while working late)                                                 10/01/15                        35.41
Rappaport (weekend working dinner meal @ office)                                                                      10/03/15                        36.42
Rappaport (weeknight working dinner meal @ office while working late)                                                 10/05/15                        13.50
Rappaport (weeknight working dinner meal @ office while working late)                                                 10/12/15                        35.06
Rappaport (weekend working dinner meal @ office)                                                                      10/17/15                        25.25
Rappaport (weeknight working dinner meal @ office while working late)                                                 10/27/15                        26.13
Rappaport (weeknight working dinner meal @ office while working late)                                                 10/30/15                        25.92
Rappaport (weeknight working dinner meal @ office while working late)                                                 11/01/15                        20.50
Rappaport (catered meal for client dinner meeting)                                                                    12/21/15                       211.22
Rappaport (weekend working lunch meal @ office)                                                                       01/02/16                        18.51
Rappaport (weekend working lunch meal @ office)                                                                       01/03/16                        16.27
Rappaport (weeknight working dinner meal @ office while working late)                                                 01/04/16                        33.81
Rappaport (weekend working dinner meal @ office)                                                                      01/03/16                        34.72
Rappaport (weeknight working dinner meal @ office while working late)                                                 01/07/16                        34.97
Rappaport (weekend working lunch meal @ office)                                                                       01/10/16                        19.60
Rappaport (weeknight working dinner meal @ office while working late)                                                 01/12/16                        22.54
Rappaport (weeknight working dinner meal @ office while working late)                                                 01/15/16                        29.61
                                                                                                             Subtotal - Employee Meals                        1,255.93

Lodging
Abramson (one-day hotel stay in Los Angeles, CA)                                                                   10/08/15 - 10/09/15               550.14
Abramson (1 day hotel stay in Wilmington, DE)                                                                      10/14/15 - 10/15/15               396.28
Abramson (1 day hotel stay in Costa Mesa, CA)                                                                      10/20/15 - 10/21/15               403.43
Baird (2 day hotel stay in Wilmington, DE)                                                                         10/13/15 - 10/15/15               695.90
Baird (1 day hotel stay in Mesa, CA)                                                                               10/20/15 - 10/21/15               551.93




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                                                             Quiksilver
                                                   Details of Expenses Processed
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Genereux (1 day hotel stay in Wilmington, DE)                                      10/13/15 - 10/14/15             381.70
Genereux (1 day hotel stay in Wilmington, DE)                                      10/14/15 - 10/15/15             468.15
Rapport (1 day hotel stay in Costa, Mesa, CA)                                      10/20/15 - 10/21/15             403.43
Rapport (1 day hotel stay in Los Angeles, CA))                                     01/19/16 - 01/20/16             453.44
                                                                                   Subtotal - Lodging                            4,304.40

                                                                                    Total Expenses                          $   18,724.74




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